 Fill in this information to identify the case:

 Debtor 1 Darlene H. Mcgilvray

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the: Middle District of Tennessee
 Case number            11-09285-CW1-13




Form 4100R
Response to Notice of Final Cure Payment                                                                                         10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


 Part 1:               Mortgage Information

                                                                                                               Court Claim no. (if
 Name of Creditor: BSI Financial Services
                                                                                                               known): _ 16

 Last 4 digits of any number you use to identify the debtor’s account:                                         XXXXXXXXXXXX9691

 Part 2:               Prepetition Default Payments

 Check one:
    Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
 on the creditor’s claim.
    Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition
 default on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of             $
 the date of this response is:

 Part 3:               Postpetition Mortgage Payment

 Check one:

    Creditor states that the debtor(s) are current with all postpetition payments consistent with §
 1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

 The next postpetition payment from the debtor(s) is due on:                 _11_/01 2016
                                                                             MM / DD / YYYY

    Creditor states that the debtor(s) are not current on all postpetition payments consistent with §
 1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

 Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                                                                                                                        $

 a.     Total postpetition ongoing payments due:
                                                                                                                    (a) $
 b.     Total fees, charges, expenses, escrow, and costs outstanding:
                                                                                                                  + (b) $
 c.     Total. Add lines a and b.
                                                                                                                    (c) $
 Creditor asserts that the debtor(s) are contractually obligated for the postpetition payment(s) that first
 became due on:                                                         _ / /
                                                                             MM / DD / YYYY




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Debtor 1 : Darlene              H.               Mcgilvray                             Case number (if known ): 11-09285-CW1-13
             First Name    Middle Name       Last Name

Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are
not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach
an itemized payment history disclosing the following amounts from the date of the bankruptcy filing through the date of this
response:
all payments received;
      all fees, costs, escrow, and expenses assessed to the mortgage; and
      all amounts the creditor contends remain unpaid.



Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the
creditor’s proof of claim.

Check the appropriate box::
        I am the creditor.
        I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this response is true and
correct to the best of my knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if
different from the notice address listed on the proof of claim to which this response applies.




          /s/ Elizabeth H. Parrott Bar 018420                                             Date 11/8/2016
             Signature




Print       Elizabeth     H.                      Parrott                                Title Attorney   for BSI Financial Services
            First Name    Middle Name        Last Name



Company Weinstein & Riley, P.S.



If different from the notice address listed on the proof of claim to which this response applies:


Address     PO Box 23408
            Number                      Street

            Nashville                                    TN         37202
            City                                         State      ZIP Code



                                                                               Email LizP2@w-legal.com
            (615) 742-9220




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                                               CERTIFICATE OF SERVICE

             I hereby certify under penalty of perjury pursuant to 28 U.S.C. § 1746 that on November 8, 2016, a true and
    correct copy of the foregoing documents was served via electronic means as listed on the Court's ECF noticing
    system or by regular first-class mail to the parties listed below:
    DEBTOR(S):                                                DEBTOR'S ATTORNEY:
    Darlene H. Mcgilvray                                      Brian Clark Penland
    9178 Christopher Ashley Drive                             Law Office Of James Flexer
    Lyles, TN 37098                                           13 Public Square
    Via First Class Mail                                      Columbia, TN 38401
                                                              Via First Class Mail

    TRUSTEE:                                                  US Trustee
    Henry Edward Hildebrand, III                              701 Broadway Ste. 318
    Office of the Chapter 13 Trustee                          Nashville, TN 37203-3966
    PO Box 340019                                             Via First Class Mail
    Nashville, TN 37203-0019
    Via First Class Mail

    Special Request Recipients:

    Valerie Ann Spicer
    Elizabeth Ann Cash
    208 Adams Avenue
    Memphis, TN 38103
    Via First Class Mail

    Wilson and Associates, PLLC
    Creekside Crossing III
    8 Cadillac Dr., Ste. 120
    Brentwood, TN 37027
    Via First Class Mail


    Dated: November 8, 2016.

                                                              /s/ Elizabeth H Parrott
                                                              Weinstein & Riley, P.S.




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